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                                  February 7, 2025

Via E-filing
Honorable Leo M. Gordon
US Court of International Trade
(Sitting by designation in the
District of New Jersey)
50 Walnut Street
Newark, NJ 07102

      Re:   State of New Jersey v. U.S. Dep’t of Transp., et al.
            Civil Action No.: 2:23-cv-3885

Dear Judge Gordon:

     On behalf of the Sokolich plaintiffs we support and adopt the
arguments set forth by the State of New Jersey in its February 7,
2025 Opposition to the FHWA’s Remand Decision and Comments
Responding to the FHWA’s Notice and Supplemental Memorandum.

                                  Respectfully,
                                  Bruce H. Nagel
                                  BRUCE H. NAGEL

cc:   All counsel of record (via ECF)
